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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA           :
                                    :
       v.                           :             Case No. 21-MJ-94 (ZMF)
                                    :
 JON SCHAFFER,                      :
                                    :
       Defendant.                   :             UNDER SEAL
____________________________________:

                     SUPPLEMENT TO CONSENT MOTION TO
                        CONTINUE DETENTION HEARING

       The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully submits the following sealed supplement to further

explain the basis for the parties’ Consent Motion to Continue Detention Hearing. In support

thereof, the government submits as follows:

   1. As stated in the Consent Motion to Continue, the government and counsel for the

       defendant have conferred and are continuing to communicate about this matter. This

       has entailed a series of debrief interviews with the defendant that began on March 2,

       2021. Based on these debrief interviews, the parties are currently engaged in good-

       faith plea negotiations, including discussions about the possibility of entering into a

       cooperation plea agreement aimed at resolving the matter short of indictment. Among

       the contemplated plea terms upon acceptance of a plea are the defendant’s release

       pending sentencing.

   2. The government’s ongoing plea negotiations with this defendant are the first and most

       advanced plea negotiations involving any of the over 300 Capitol Riot defendants. Plea

       terms have thus required extensive review and approval at various levels of government

       necessitating more time than usual to approve and negotiate. The parties have,
                                              1
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        therefore, requested a continuance of the detention hearing for approximately two

        weeks to provide additional time to exhaust all avenues of negotiation.

    3. Furthermore, both parties believe it is in their best interests to hold in abeyance the

        defendant’s motions pending before the court. The parties agree that maintaining the

        current detention posture, as well as the government forestalling return of a grand jury

        indictment against the defendant 1, are necessary at this stage to facilitate good-faith

        plea negotiations. Additional time may also be necessary in the event plea conditions

        require completion of certain requirements before entering into a formal agreement

        before the court, such as the defendant testifying before the grand jury.

    4. Should the futility of plea negotiations become apparent in advance of the requested

        continuance date of April 21, 2021, and it is practical to do so, the parties will inform

        the court and seek to advance the detention hearing and the government’s reply brief

        due date so that the matter of detention can be addressed without delay.

    5. Finally, the parties request that this filing be docketed under seal. Such an order is

        appropriate because the filing relates to sensitive information about the defendant’s

        cooperation with the government and ongoing plea negotiations that are not public.

        Accordingly, disclosure may reveal the existence, scope, and direction of the ongoing

        and confidential investigation. If alerted to this information, investigation targets

        against whom the defendant may be providing information about could be immediately

        prompted to flee from prosecution, destroy or conceal incriminating evidence, alter

        their operational tactics to avoid future detection, attempt to influence or intimidate


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  As acknowledged by the defense during the sealed portion of the April 2, 2021 status hearing,
the government is in a position to rapidly obtain an indictment against the defendant should plea
negotiations fail.
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   potential witnesses, and otherwise take steps to undermine the investigation and avoid

   future prosecution. Accordingly, these facts present an extraordinary situation and a

   compelling governmental interest which justify sealing of this filing pertaining to this

   investigation that is being submitted at this time. See Washington Post v. Robinson,

   935 F.2d 282, 289 n.10 (D.C. Cir. 1991); United States v. Hubbard, 650 F.2d 293, 316-

   17 (D.C. Cir. 1980).



Dated: April 5, 2021

                                Respectfully submitted,

                                CHANNING B. PHILLIPS
                                ACTING UNITED STATES ATTORNEY




                       By:
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                             UNITED STATES DISTRICT COURT
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 UNITED STATES OF AMERICA           :
                                    :
       v.                           :                 Case No. 21-MJ-94 (ZMF)
                                    :
 JON SCHAFFER,                      :
                                    :
       Defendant.                   :                 UNDER SEAL
____________________________________:

                                            ORDER


        Upon consideration of the Government’s request to seal the Supplement to Consent Motion to

Continue Detention Hearing, concerning the above-defendant, it is hereby

        ORDERED that the Supplement to Consent Motion to Continue Detention Hearing and this

corresponding Court Order be sealed until further Order of this Court.

                                                         It Is So Ordered.



                                                         BERYL A. HOWELL
                                                         Chief Judge
                                                         United States District Court for the District of
                                                         Columbia




Entered:




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the Supplement to Consent Motion to Continue Detention
Hearing was served upon counsel of record for the defendant through the electronic court filing
system, this 5th day of April 2021.




                             By:
                                   Ahmed M. Baset
                                   Assistant United States Attorney




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